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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                   AT HARTFORD

In re                                          :       Chapter 7
LOUIS P. MIRA and                              :       CASE NO. 19-21130-JJT
ADELAIDE M. MIRA                               :
      Debtor                                   :       July 22, 2019

                                    CERTIFICATE OF SERVICE
                                   STATEMENT OF INTENTION

In accordance with the applicable provisions of the Federal Rules of Bankruptcy Procedure, 2002 and
7004, the undersigned certifies that on July 22, 2019, by US Mail a copy of the Statement of Intention
(Form 108) was mailed to Secured Creditors as follows:

Louis P. Mira
Adelaide M. Mira
20 Banbury Lane
West Hartford, CT 06107

Fifth Third Bank
Attn: President
5050 Kingsley Drive
Cincinnati, OH 45263

US Bank
Attn: President
P.O. Box 5227
Cincinnati, OH 45201

JPMCB Auto
Attn: President
P.O. Box 901003
FT Worth, TX 76101

Anthony S. Novak Trustee
AnthonySNovak@aol.com, ct07@ecfcbis.com;novaklawofficepc@gmail.com

U. S. Trustee
USTPRegion02.NH.ECF@USDOJ.GOV

                                               THE DEBTORS,

                                               By:      Joel M. Grafstein
                                               Joel M. Grafstein, Esq. (ct06191)
                                               Grafstein & Arcaro, LLC
                                               10 Melrose Drive
                                               Farmington, CT 06032
                                                            (860) 674-8003
                                               (860) 676-9168 Fax
                                               jgrafstein@grafsteinlaw.com
